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                                     #:177584

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16
                            UNITED STATES DISTRICT COURT
17
                           CENTRAL DISTRICT OF CALIFORNIA
18                               SOUTHERN DIVISION
19     MASIMO CORPORATION,                       CASE NO. 8:20-cv-00048-JVS (JDEx)
       a Delaware corporation; and
20     CERCACOR LABORATORIES, INC.,
       a Delaware corporation,
21
                         Plaintiffs,             DEFENDANT APPLE INC.’S NOTICE
22                                               OF NARROWING OF PROPOSED
             v.
23                                               TERMS FOR CLAIM
       APPLE INC., a California corporation,     CONSTRUCTION
24
                         Defendant.
25
                                                Hon. James V. Selna
26                                              Tutorial Date: June 29, 2024 at 8:00 am
27
                                                Hearing Date: July 22, 2024
                                                Place: Courtroom 10C
28


       APPLE INC.’S NOTICE OF NARROWING OF PROPOSED TERMS FOR CLAIM CONSTRUCTION—
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Wilmer, Cutler,
Pickering, Hale
                        APPLE INC.’S NOTICE OF NARROWING OF PROPOSED TERMS FOR CLAIM CONSTRUCTION—
and Dorr                CASE NO. 8:20-CV-00048-JVS (JDEX)
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                  1              In view of Plaintiffs’ narrowing of the number of asserted claims (Dkt. 1994) and
                  2     in the interest of further narrowing the disputes before the Court, Apple informs the
                  3     Court that it withdraws its contention that the following claim terms are indefinite1:
                  4
                                        Terms That Are Indefinite               Relevant Asserted Patent(s)
                  5                          Under Section 112
                  6         “when operating according to the first control     U.S. Patent No. 10,433,776
                  7
                            protocol, calculat[e/ing], by the patient monitor,
                            measurement values of the pulse rate, the
                  8         measurement values responsive to light from the
                  9
                            first control protocol light source”
                            “wherein said continuously operating at said lower U.S. Patent No. 8,457,703
             10             power consumption level comprises reducing
             11             activation of an attached sensor” / “wherein said
                            continuously operating at said lower power
             12             consumption level comprises reducing an amount
             13             of processing by a signal processor”
             14
                        The following claim terms from the currently asserted claims remain in dispute:2
             15

             16                    Proposed Terms For Construction                       Relevant Asserted Patent(s)
             17             “processing characteristics”                                U.S. Patent No. 8,457,703
                                                                                        U.S. Patent No. 10,433,776
             18
                            “reducing/reduce activation of an attached sensor”          U.S. Patent No. 8,457,703
             19
                                       Terms That Are Indefinite                         Relevant Asserted Patent(s)
             20                           Under Section 112
             21             “higher power consumption level”                            U.S. Patent No. 8,457,703
             22

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             25
                        1
                          As Plaintiffs reported, the “relatively small amount of power” / “relatively large amount of power”
             26
                        in claim 5 of the ’776 patent, which Plaintiffs no longer assert, is also no longer at issue. See Dkt.
             27         2026.
                        2
             28          The parties have also agreed upon the constructions of the terms “duty cycle” and “first duty cycle /
                        “second duty cycle.” Dkt. 1947 at §I.
                        APPLE INC.’S NOTICE OF NARROWING OF PROPOSED TERMS FOR CLAIM CONSTRUCTION—
Wilmer, Cutler,
Pickering, Hale         CASE NO. 8:20-CV-00048-JVS (JDEX)
and Dorr
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                                                      #:177587

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                        APPLE INC.’S NOTICE OF NARROWING OF PROPOSED TERMS FOR CLAIM CONSTRUCTION—
Wilmer, Cutler,
Pickering, Hale         CASE NO. 8:20-CV-00048-JVS (JDEX)
and Dorr
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